










Opinion issued January 13, 2005











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01-04-01200-CV
____________

IN RE GALEN A. OHNMACHT, M.D. AND DAVID MERCER, M.D.,
Relators




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelators have settled their controversy and request us to dismiss their petition. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, relators’ petition is dismissed.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Alcala.


